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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                  :
                                          :
                        Complainant       :
                                          :
            v.                            :                  Case No. 1:21-CR-725 (RDM)
                                          :
JARED SAMUEL KASTNER,                     :
                                          :
                        Defendant.        :
                                          :
__________________________________________:


                       DEFENDANT JARED SAMUEL KASTNER’s
                      MOTION TO APPEAR AT PRETRIAL HEARING
                                    BY ZOOM

        Defendant JARED SAMUEL KASTNER (“Kastner”), by and through undersigned

counsel, hereby respectfully moves the Court to allow him to participate in the scheduled pretrial

conference hearing by video zoom conferencing.

        Pursuant to Federal Rule of Criminal Procedure 43, Kastner waives his personal

appearance at the hearing.

        Kastner resides in Indiana with his wife. Travel to D.C. for the pretrial hearing will place

an extreme hardship on Kastner and his family. Additionally, Kastner’s work obligations add to

this hardship, as Kastner must reschedule his work commitments. The work obligation issue is

due to undersigned counsel not providing Mr. Kastner sufficient advance notice of the hearing

due to just finishing a trial last week.
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July 20, 2023                       RESPECTFULLY SUBMITED,

                                    John M. Pierce, Esq.
                                    Counsel for Defendant

                                    /s/ John Pierce

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                                CERTIFICATE OF SERVICE

       I hereby certify that my law firm is filing the foregoing with the Court by its ECF record-
keeping and filing system, which automatically provides a copy to:

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                                                           /s/
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